                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF IOWA
                                               EASTERN       DIVISION
UNITED STATES OF AMERICA,                                                    WITNESS & EXHIBIT LIST
                                                                         Case No. 19-CR-1004-CJW
                              Plaintiff(s),                       Presiding Judge Magistrate Mark A. Roberts
                  vs.                                               Deputy Clerk Sarah Melvin
BRANDON JAMES SEYS,                                               Court Reporter FTR Gold
                              Defendant(s).                   Plaintiff’s Attorney AUSA Emily Nydle
Hearing Date: 4/11/2019                                      Defendant’s Attorney Michael Lahammer

 #                   PLAINTIFF Witnesses                          Date/Time Sworn              Date/Time Excused
 1    Officer Daniel Kearney, Dubuque Co. Sheriff’s Office    4/11/2019      3:27 PM        4/11/2019      4:05 PM




 #                   DEFENSE Witnesses                             Date/Time Sworn             Date/Time Excused




                                   *Exhibit Receipted to Task Force Officer
       **A=Admitted; APT=Admitted at Pre-Trial; RSO=Received Subject to Objection; OS=Objection Sustained
Marked                       COURT Exhibits, Description                              Date Offered **Admitted?




Marked                           PLAINTIFF Exhibits, Description                          Date Offered   **Admitted?




Marked                            DEFENSE Exhibits, Description                           Date Offered   **Admitted?




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